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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN


 UNITED STATES OF AMERICA,
          Plaintiff,
                                                                Hon. Paul L. Maloney
 v.
                                                                Case No. 1:17-cr-00176
 TIRRELL PERRY THOMAS,

          Defendant.
 ________________________________/


                           REPORT AND RECOMMENDATION

         Pursuant to W.D. Mich. L.Cr.R. 11.1, I conducted a plea hearing in the captioned

case on December 1, 2017, after receiving the written consent of defendant and all

counsel. At the hearing, defendant Tirrell Perry Thomas entered a plea of guilty to Counts

One and Three of the Indictment in exchange for the undertakings made by the govern-

ment in the written plea agreement. In Count One of the Indictment, defendant is charged

with conspiracy to commit bank fraud in violation of 18 U.S.C. §§ 1349 and 1344(2). In

Count Three of the Indictment, defendant is charged with bank fraud in violation of 18

U.S.C. §§ 1344(2) and 2. On the basis of the record made at the hearing, I find that

defendant is fully capable and competent to enter an informed plea; that the plea is made

knowingly and with full understanding of each of the rights waived by defendant; that it is

made voluntarily and free from any force, threats, or promises, apart from the promises

in the plea agreement; that the defendant understands the nature of the charge and

penalties provided by law; and that the plea has a sufficient basis in fact.
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       I therefore recommend that defendant's plea of guilty to Counts One and Three of

the Indictment be accepted, that the court adjudicate defendant guilty, and that the written

plea agreement be considered for acceptance at the time of sentencing. Acceptance of

the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of

sentence are specifically reserved for the district judge.


Date: December 4, 2017                                   /s/ Ellen S. Carmody
                                                         ELLEN S. CARMODY
                                                         U.S. Magistrate Judge


       OBJECTIONS to this Report and Recommendation must be filed with the Clerk of

Court within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure

to file objections within the specified time waives the right to appeal the District Court’s

order. Thomas v. Arn, 474 U.S. 140, 155 (1985); United States v. Walters, 638 F.2d 947,

949-50 (6th Cir. 1981).




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